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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 ) 20 CR 637
                                          )
JEREMIAH HARRIS                           ) Judge Manish S. Shah
                                          )

            DESIGNATION OF ATTORNEY FOR THE GOVERNMENT

The United States of America, by and through its attorney, John R. Lausch, Jr.,

United States Attorney for the Northern District of Illinois, hereby presents notice

that the undersigned Assistant United States Attorney has been designated to

represent the government in the above-captioned matter.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                       By:     /s/ Kelly Guzman
                                              KELLY GUZMAN
                                              Assistant United States Attorney
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Dated: January 18, 2022
